Case 2:22-cv-06278-BRM-AME Document 36 Filed 08/25/23 Page 1 of 2 PageID: 428




Not for Publication

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 MARCO PALLAZI and PIERANGELA                                        Civil Action No. 22-6278
 BONELLI,

                Plaintiffs,                                                  ORDER


        v.

 CIGNA HEALTH AND LIFE INSURANCE
 COMPANY, JOHN OR JANE DOE 1
 THROUGH 100 (FICTITIOUS NAMES); XYZ
 CORPORATIONS 1 THROUGH 100
 (FICTITIOUS NAMES); ABC ENTITIES 1
 THROUGH 100 (FICTITIOUS NAMES),
                Defendants.


John Michael Vazquez, U.S.D.J.

       For the reasons set forth in the accompanying Opinion, and for good cause shown,

       IT IS on this 25th day of August 2023,

       ORDERED that Defendant Cigna Health and Life Insurance Company’s motion to

dismiss Plaintiffs’ First Amended Complaint, D.E. 14, is GRANTED; and it is further

       ORDERED that Plaintiffs are provided with thirty (30) days to file an amended complaint

that cures the deficiencies noted in the accompanying Opinion. If Plaintiffs fail to file an amended

complaint within that time, the dismissal will be with prejudice; and it is further

       ORDERED that the accompanying Opinion shall be placed under seal and shall remain

under seal until September 5, 2023. By that date, the parties shall submit a letter on the docket
Case 2:22-cv-06278-BRM-AME Document 36 Filed 08/25/23 Page 2 of 2 PageID: 429




indicating which portion of the Opinion should remain under seal and the reasons therefor. If no

submission is made by that date, the Opinion shall be unsealed in its entirety.


                                                     __________________________
                                                     John Michael Vazquez, U.S.D.J.




                                                 2
